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8                             UNITED STATES DISTRICT COURT

9                           CENTRAL DISTRICT OF CALIFORNIA
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11     SHERRY LERWICK,                                       Case No: 5:14-CV-00993-CAS-
                                                             AGR
12                             PLAINTIFF,
13     v.                                                    [PROPOSED] ORDER
                                                             GRANTING JOINT MOTION
14     CACH, LLC AND MANDARICH                               FOR DISMISSAL OF ACTION
15     LAW GROUP, LLP,                                       WITH PREJUDICE

16                             DEFENDANTS.                   HON. CHRISTINA A. SNYDER
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19          Based upon the Joint Motion for Dismissal, and good cause, this Court
20   hereby orders the action to be, and is, dismissed with prejudice.
21          IT IS SO ORDERED.
22
23   Dated: September 11, 2014                       _______________________________
                                                     HON. CHRISTINA A. SNYDER
24
                                                     UNITED STATES DISTRICT JUDGE
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28    ______________________________________________________________________________________________________
       [PROPOSED] ORDER                         - 1 of 1 -                     5:14-CV-00993-CAS-AGR
